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                   IN THE UNITED STATES DISTRICT COURT
                   FOR THE SOUTHERN DISTRICT OF TEXAS
                            HOUSTON DIVISION

PEOPLE FOR THE ETHICAL TREATMENT §
OF ANIMALS, INC.,                 §
      Plaintiff,                  §
                                  §
v.                                §            No. 4:18-CV-01547
                                  §
MICHAEL K. YOUNG, IN HIS OFFICIAL §
CAPACITY AS PRESIDENT OF TEXAS    §
A&M UNIVERSITY,                   §
      Defendant.                  §

           DEFENDANT’S REPLY IN SUPPORT OF PROPOSED DISCOVERY PLAN

         On September 28, 2018, pursuant to the Court’s order, the parties submitted

proposed discovery plans. Dkts. 36-38. Plaintiff People for the Ethical Treatment of

Animals (PETA) submitted a response in opposition to the discovery plan of

Defendant Michael K. Young, in his official capacity as president of Texas A&M

University (TAMU). Dkt. 39. Mindful that the Court has admonished against

expending litigant and judicial resources disputing discovery-related matters,

Defendant offers this short submission to respond to the two issues raised therein.

   I.       PETA is incorrect that Defendant seeks to “probe the truth or
            falsity” of PETA’s viewpoint.

         First,   PETA   argues   that   Defendant’s   proposed    discovery   requests

impermissibly inquire into PETA’s “knowledge of whether its speech is true or false.”

Dkt. 39 at 2. But these requests are not made to “prov[e]” PETA’s “viewpoint true or

false.” Dkt. 39 at 4. Rather, they seek to explore how the communications PETA has

put at issue were designed to assist in evaluating whether PETA violated TAMU’s



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social media policy. See Dkt. 17-1 (Exhibit A to PETA’s Amended Complaint, TAMU

Public Notification for Social Media). This is directly relevant to Plaintiff’s allegation

that its posts were filtered for an illegal reason (namely, to suppress their viewpoint),

and Defendant’s responsive argument that the posts were subject to removal for

violating TAMU’s social media policy.

         That policy provides for TAMU to remove a post that “advertises or promotes

a non-affiliated commercial product or service, or any entity or individual,” “violates

a trademark, copyright, or other law,” “is threatening, harassing or discriminatory,”

or “incites or promotes violence or illegal activities.” Dkt. 17-1 at 4-5. The materials

that PETA consulted in creating its content discussing TAMU’s laboratory—and the

extent and manner in which PETA evaluated those materials before using them as a

basis for such content—are probative in this regard. This discovery will assist in

determining whether the content at issue (1) was created to promote PETA, (2)

violates copyright or other law, (3) was designed to threaten or harass, and (4)

whether PETA reasonably anticipated that it would promote violence. PETA has

placed these matters at issue by contending that its content was filtered for an

unconstitutional purpose (viewpoint discrimination) rather than a legal one (for

example, for violating the social media policy).

   II.      PETA’s communications outside the context of TAMU’s Facebook
            page are directly relevant to its First Amendment claim.

         Second, PETA argues that the scope of discovery in this case is limited to “any

messages actually posted on to A&M’s Facebook page.” Dkt. 39 at 5. See also, e.g.,

Dkt. 39 at 4 (asserting that “[t]he Court has instructed the parties regarding the

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proper scope of discovery, cabining it to A&M’s Facebook page.”) But the existence

and scope of alternative channels of communication is central to First Amendment

forum analysis. See, e.g. Christian Legal Soc. Chapter of the Univ. of California,

Hastings Coll. of the Law v. Martinez, 561 U.S. 661, 690 (2010) (In rejecting a First

Amendment challenge to restrictions on access to a limited public forum, the Court

found it significant that there were “‘substantial alternative channels that remain

open for [the plaintiff’s] communication to take place.’”) (quoting Perry Educ. Ass’n v.

Perry Local Educators’ Ass’n, 460 U.S. 37, 53 (1983)). TAMU’s proposed discovery

regarding PETA’s alternative (non-Facebook) avenues of communication—and

PETA’s use of those avenues—is directly relevant to the legal analysis at bar.

                                     CONCLUSION

         The Court should reject the arguments in Plaintiff’s Response to Defendant’s

Proposed Discovery Plan, and order Defendant’s requests served as submitted at Dkt.

38.1.

                                        Respectfully submitted,

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                             CERTIFICATE OF SERVICE

      I hereby certify that on October 11, 2018, the foregoing document was filed via

the Court’s CM/ECF system, causing electronic service upon all counsel of record.

                                      /s/Anne Marie Mackin
                                      ANNE MARIE MACKIN
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